      EXHIBIT 20




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From: Slack <notification@slack.com>
Sent: Tuesday, March 14, 2023 12:50 PM
To: Kirk Grundahl <kgrundahl@qualtim.com>
Subject: [Slack] New messages from Dan Holland, Jan Pauli, and more in Paragon




                          The link ed image cannot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.




                      You have a new mention
                      in Paragon
                      (paragontruss.slack.com)
                      From a thread in #drj-paragon-engineering-
                      discussions




                      Dan Holland March 14th at 12:48 PM
                      The truss design engineer will be relying on paragon software
                      to calculate the tolerance polygon and should be familiar with
                      the methods that Paragon is using. (Kirk's tolerance for the
                      requirements of the TPI document can not be described using
                      a single polygon.)




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                                                                                                                                                                                            1
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           REPLY




        From #drj-paragon-engineering-discussions




        Jan Pauli March 14th at 11:36 AM
        @Jeremy Bierema @Matt Van Stelle @Jill Zimmerman Hi
        Jeremy and Matt, I'm checking to see if we need to meet on
        Friday. Keith is traveling and unsure if he'll be able to make it.




        Jeremy Bierema March 14th at 12:38 PM
        @Kirk Grundahl @Keith Hershey @Dan Holland We have
        been working on adding joint QC detail generation to Paragon's
        offerings. We see that TPI 1 Section 3.7.2.1 specifies that the
        joint QC polygon be calculated by the person listed on the TDD
        as the truss designer (e.g., Ryan Dexter). How should that work
        when Paragon software is being used? Does the engineer
        need a chance to review/revise the QC polygon? The only
        other way I can think of trying to apply that provision would be
        for the engineer to sign off on Paragon's process for generating
        the polygon as a whole.




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           REPLY




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                         Snooze them for an hour, eight hours, a day, three days, or the
                         next week. Or, turn email notifications off. For more detailed
                         preferences, see your account page.




                              Workspace name: Paragon
                              Paragon
                              Workspace URL: paragontruss.slack.com
                              Email: kgrundahl@qualtim.com


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